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1    McGREGOR W. SCOTT
     United States Attorney
2    MATTHEW C. STEGMAN
     Assistant U.S. Attorney
3    JOHN S. GATSCHET
     Certified Student, Misdemeanor Unit
4    501 “I” Street, Suite 10-100
     Sacramento, CA 95814
5    Telephone: (916) 554-2805
6
7
8                    IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )          No. Cr. S-02-0099 JFM
                                   )
12             Plaintiff,          )          MOTION TO DISMISS
                                   )          INFORMATION ONLY AS TO
13         v.                      )          DEFENDANT DONALD WAYNE
                                   )          JOHNSON AND ORDER
14   DONALD WAYNE JOHNSON,         )
                                   )
15             Defendant.          )
     ______________________________)
16
17         Pursuant to Rule 48(a) of the Federal Rules of Criminal
18   Procedure, plaintiff United States of America, by and through its
19   undersigned attorney, hereby moves this Honorable Court for an
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21   ///
22   ///
23   ///
24   ///
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26   ///
27   ///
28   ///

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             Case 2:02-cr-00099-JFM Document 19 Filed 10/11/05 Page 2 of 2


1    Order dismissing Information No. Cr. S-02-0099-JFM, only as to
2    defendant Donald Wayne Johnson filed in the above-entitled
3    matter.
4    DATED: September 28, 2005.
5                                                  McGregor W. Scott
                                                   United States Attorney
6
7                                              By:/s/ MATTHEW C. STEGMAN
                                                  MATTHEW C. STEGMAN
8                                                 Assistant U.S. Attorney
9    IT IS SO ORDERED:
10   DATED: October 11, 2005.
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     /johnson.mtd
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